  

Case 2:05-cr-20030-.]PI\/| Document 80 Filed 05/27/05 PagelofS Page|D 94 _»

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF _AMERICA
Plaintiff,

v. Criminal No. OS"- 850-39 Ml

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owed SL{\\~V@
§'i/\/_‘\d;(,f§ [j;lgAJCS]S\/\

(BO-Day Continuance)

 

 

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Defendant {s) .

 

CONSENT ORDER ON CRIMINAL C_ASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. rl`he case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at w

a.m. on FridaV, June 24, 2005, with trial to take place on the

 

July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27ah day of May, 2005.

Th1s document entered on the docket eha ln nco/` /-?` \
wlth Ru|e 55 and!or 32(b) FRCrP on )

Case 2:05-cr-20030-.]PI\/| Document 80 Filed 05/27/05 Page20f3 Page|D 95
se oRDERED this 27th day cf May, 2005.

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JON PHIPPS MCCALLA
j UN ED STATES DISTRICT JUDGE
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Assistant United States Attorney

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Counsel for Defendant(s)

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on

June 3, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

